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United States District Court
Southern District of New York

United States of America,

-against-

15 Cr. 139 (LTS)
Samuel Waldman,

Defendant.

Defendant Samuel Waldman’s Sentencing Submission
(REDACTED)

Federal Defenders of New York
Attorney for Defendant
Samuel Waldman

52 Duane Street - 10th Floor
New York, New York 10007
Tel.: (212) 417-8792

Jonathan Marvinny

Of Counsel

To: Preet Bharara, Esq.
United States Attorney
Southern District Of New York
One St. Andrew’s Plaza
New York, New York 10007
Att: Patrick Egan, Esq.
Assistant United States Attorney
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Southern District
Federal Defenders 52 Duane Street-10th Floor, New York, NY 10007
OF NEW YORK, INC. Tel: (212) 417-8700 Fax: (212) 571-0392
David E. Patton Southern District af New York

Jennifer L. Brown

Execttive Director
Attomey-in-Charge

December 2, 2015
Request to file under seal
By hand delivery

Honorable Laura Taylor Swain
United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street, Room1320
New York, New York 10007

Re: United States v. Samuel Waldman, 15 Cr. 139 (LTS)
Dear Judge Swain:

I write on behalf of my client, Samuel Waldman, in advance of his sentencing on
December 16, 2015. Mr. Waldman pled guilty to possessing child pornography,
an undeniably serious crime. But there is no good reason to send him to prison.
Instead, for the reasons to be discussed, I most respectfully urge the Court to
sentence him to five years’ probation.

Introduction

At 52 years old and deeply respected in his Orthodox Jewish community as a
scholar, teacher, and family man, this is Mr. Waldman’s very first brush with
the law. It has forever changed him. He is remorseful for his conduct, and
ashamed before his family and his community. The media scrutiny that has
accompanied this case has only heightened that profound sense of shame. The
fact is that Mr. Waldman turned to viewing child pornography when he was at a
low point personally and financially. Viewing media forbidden by his faith—
including mainstream movies, music videos, and adult and child pornography—
offered him an escape from his troubles and from what was a fairly repressive
upbringing in a strictly religious household and culture.

Objective testing indicates, however, that he is not sexually attracted to young
children and is not a danger to anyone. There is not the slightest suggestion that
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he has ever engaged in any inappropriate contact with a minor, fabricated child
pornography, or commercially distributed it. And, without minimizing the
seriousness of his conduct, it bears noting that he has been held responsible for
possessing only three illicit videos.

Mr. Waldman’s misconduct was truly out of character for him. As numerous
letters from those who know him best make plain, Mr. Waldman has lived an
exemplary life marked by a devotion to his family and his faith. He is a kind and
outgoing man who has impacted the lives of many.

From the moment of his arrest Mr. Waldman has accepted responsibility for his
misconduct, and continues to do so at every turn. He is doing exceptionally well
in counseling and has made great strides in understanding the root causes of his
behavior. He is working hard to support his large family. And he has not viewed
media of any kind, including, of course, child pornography, in almost two years.

Given Mr. Waldman’s impressive characteristics, and given his keen remorse for
his misconduct, the Court should look beyond the unreasonable Guidelines range
and focus on the person Mr. Waldman has proven himself to be. A sentence of
five years’ probation is a serious one. Mr. Waldman would be closely monitored
and subject to harsh sanction should he violate even a single condition. At the
same time, Mr. Waldman will be required to register as a sex offender, an
additional punishment that will impact him greatly.

Given his commitment to his faith, his willingness to address the issues in his
life, and the overwhelming support of his family and community, Mr. Waldman
is no threat to return to viewing child pornography, and no threat to violate the
law in any way. Taking the § 3553(a) factors together, the Court should conclude
that incarceration is unnecessary. The Court should instead impose five years’
probation.

Samuel Waldman’s background
A young man in a deeply religious household

Samuel Waldman was born in 1962, in Brooklyn, to Fay Papernik and Herbert
Waldman. Herbert had emigrated from Czechoslovakia on the eve of World War
Il. Fay, who was originally from Austria, had escaped to Switzerland during the
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war and stayed in a displaced persons camp until 1949, when she immigrated to
the United States. Both Herbert and Fay were raised in the Orthodox Jewish
faith; they raised Mr. Waldman and his three siblings in the same manner.

The family, including Mr. Waldman’s grandmother, lived in a three-bedroom
home in the Borough Park section of Brooklyn. Herbert was mainly self-
employed. He patented numerous inventions related to the telephone answering
machine. Fay worked as a secretary in a real estate office in Flatbush. The
family was close-knit and happy.

The family’s financial stability deteriorated when Mr. Waldman was 13, after a
company Herbert worked for and held a large amount of stock in went into
bankruptcy. Though the children had the basic necessities, there was little

money left to spare. At that time, perhaps unsurprisingly, the family came to
rely ever more heavily on its faith. Fay, influenced by a Jewish lecturer she had
heard in the synagogue, banished television from the family home. Young Mr.
Waldman was sent to a high school in Flatbush, the Mirrer Yeshiva, which had a
strict regimen of Judaic studies and required synagogue attendance three times
a day. Some days the students stayed for a night session until 8:30 p.m.

At that young age, Mr. Waldman made his best efforts to abide by the strict
rules of his faith and his household. But, still a teenager, he was inclined to see
them as little more than somewhat arbitrary restrictions. Indeed, while his
family embraced the Orthodox faith, he struggled with the role it might play in
his own life. Many of the activities that a typical adolescent boy would find
appealing—watching television, reading secular magazines, and pursuing
crushes, for example—were considered taboo. At times, Mr. Waldman chafed at
the restrictions, and he partook of activities he knew were forbidden. Those
various indiscretions were often followed by a deep sense of shame and guilt.

Mr. Waldman’s parents sensed that he was possibly beginning to stray from his
religion and so found him a mentor who might strengthen his faith. This mentor
encouraged his parents to send him to a Yeshiva outside the city. Just before Mr.
Waldman was to begin his senior year of high school, he transferred to the
Yeshiva of Long Beach, a dormitory Yeshiva where students typically did not
return home for a month at a time. There, he would come to embrace his faith in
a way he had previously not thought possible.
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Embracing the faith that would guide him throughout his life

The first few months at the Yeshiva were difficult for Mr. Waldman. The
Yeshiva’s rules made him feel isolated; he was permitted to return home only
once a month. In order to evade the prohibition on radio and music, he sneaked
in rock tapes and hid them among the tapes of a famous rabbi’s lectures. But
soon something momentous happened: he actually began to listen to the rabbi’s
lectures. After a long day of studying and prayer, he would return to his
dormitory and listen to them while having supper. Now free of the distractions of
his home life in Brooklyn, Mr. Waldman was able to focus more than ever on.
Judaism and its teachings. He experienced a seismic shift in his understanding
of his faith. The rabbi spoke passionately of the fundamental precepts of the
religion. Mr. Waldman was enamored. He began conducting his own research
and reading all the religious works he could find. He did not listen to the radio,
watch television, or have any friendships with girls. Those things suddenly
seemed unimportant and he accepted the fact that they were considered
forbidden and spiritually degrading.

In 1980, Mr. Waldman graduated from the Yeshiva of Long Beach and began
attending a Talmudic college program at the Yeshiva of Staten Island. After
spending four years there, at 21 he transferred back to Mirrer Yeshiva, where he
had previously attended most of high school. He studied at Mirrer Yeshiva’s
rabbinical college, deepening his knowledge of the Talmud, religious law, and
ethics.

Two years into his studies at Mirrer Yeshiva, Mr. Waldman met his future wife,
Shayna Appelgrad, through a traditional matchmaker. Shayna worked (and
continues to work) as an eighth-grade Hebrew teacher at Beth Jacob in Borough
Park, Brooklyn. At first, the union between Shayna and Mr. Waldman may not
have been romantic in the traditional sense, but they had similar ambitions,
ideals, and beliefs. After a couple of formal meetings, they decided to get
married. Because of Orthodox Judaism’s prohibition on pre-marital contact with
the opposite sex, Shayna was the first woman that Mr. Waldman had ever even
touched. Soon after their marriage, the young couple began having children. Still
happily married today, they now have 13 children. Shayna has been steadfast in
her support of Mr. Waldman throughout this case because she knows the kind of
person he has been throughout their marriage.
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Mr. Waldman continued to study the Talmud at a Kollel (an institute for
Talmudic studies for married men) at Mirrer Yeshiva until 1989. He studied
diligently for 8 to 10 hours a day. At the conclusion of his four years at the
Kollel, Mr. Waldman was himself a rabbi.

While at the Kollel, Mr. Waldman decided he wanted to become a teacher. After
he left the Kollel, he began working as a tutor and mentor at Yeshiva Mercas
Hatorah in Belle Harbor. The school liked his work and gave him a position as a
mentor and lecturer. After Mr. Waldman had spent six years there, however, the
Yeshiva began to encounter financial difficulties and so he left to take a
temporary teaching position at a Jewish elementary school in Bensonhurst,
Brooklyn. After a year at that school, he secured a teaching position at Yeshiva
Tifereth Moshe in Queens where he taught fourth grade for four years and
seventh grade for seven years. Mr. Waldman taught the bible, the Talmud,
religious law, and ethics.

Mr. Waldman’s work to support his growing family

Mr. Waldman’s family grew rapidly during the years he taught at the Yeshiva.
In order to continue supporting his children, he sought additional work. In the
mid-1990s, he founded L.D. Telebrokers, Inc., a company which resold lines for
long-distance telephone calls. For five years, Mr. Waldman brokered telephone
calls to foreign countries.

In 1999, Mr. Waldman’s father passed away suddenly, at the age of 67, from
complications from a foot infection. Mr. Waldman was devastated; he had always
been very close to his father. For a year, in accordance with his faith’s teachings,
he led prayer three times a day in his synagogue. Mr. Waldman was depressed
and under enormous pressure; the stress was beginning to take its toll.
Eventually he saw a psychiatrist who prescribed him Zoloft for his depression
and Propranolol, a beta blocker.

During many summers he worked at a variety of Jewish summer camps. He also
spent his free time working on a book about Judaism: Beyond a Reasonable
Doubt: Convincing Evidence of the Truths of Judaism. The book required a large
amount of research and effort, and was published in 2002 by Feldheim
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Publishers. The book was well received and many Jewish educational
institutions around the country continue to use it as a teaching tool.

In 2002, Mr. Waldman closed L.D. Telebrokers after the government deregulated
long distance phone calls, making the business unprofitable. He continued to
work as a teacher, and started to work as a mortgage broker in the afternoons.
He continued doing residential and eventually commercial mortgages until the
financial mortgage crash. In 2004, his book publishers asked him to create a
second edition of Beyond a Reasonable Doubt that would be more accessible to a
secular audience. Mr. Waldman published this second version in 2005. Between
the book sales, the mortgage business, and his teaching, things were going well
for Mr. Waldman financially.

In 2007 he decided to leave teaching to pursue the mortgage business full-time.
To this day, he regrets that decision for, soon after, the world financial markets
crashed and Mr. Waldman lost almost all of his savings and was without his
main source of income.

A void in the wake of financial disaster

Facing personal financial disaster, Mr. Waldman felt depressed and alone. The
world was changing and things seemed hopeless. He had given up the career he
loved in order to make a better living, but circumstances out of his control had
left him with almost nothing. Business was basically non-existent at that point
and he started spending long hours at home. Mr. Waldman was despondent and
searching for an escape from his troubles. He began using the internet to watch
movies on his laptop—a practice that was strictly proscribed in his faith. Late at
night, while his wife was asleep, he would sneak into another room where he
kept the computer. He particularly enjoyed watching movies that portrayed
romantic relationships. This behavior slowly began to escalate, and Mr.
Waldman soon found himself using the internet to view adult pornography in
addition to mainstream movies—an egregious violation of his faith’s teachings.

At the same time, under enormous pressure to keep his family afloat financially,
he found work wherever he could. He experienced occasional panic attacks (he
had been hospitalized twice for hyperventilating) and was again prescribed
Zoloft (which he had stopped taking years earlier) and Lorazepam for his
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anxiety. After exiting the residential and commercial mortgage business, he
found part-time work at his neighbor's telephone company. After a few months,
he secured a job as an English teacher at Yeshiva Ruach Chaim in Flatbush.
After a year and a half at Ruach Chaim, he left because the school was not
providing him with enough students to tutor. He began working as a used car
salesman in Brooklyn, taking a small cut of whatever sales he made. He
continued to tutor to supplement his meager income.

Constantly on the lookout for work, in September 2010 Mr. Waldman took a
part-time position at Seminar L’Moros Bais Yaakov, a Hebrew college for girls.
While teaching there he also took real estate classes and obtained his real estate
license. He eventually found a part-time position at Gold Realty. In 2013 he left
Gold to begin work at Schmidt Realty.

Offense conduct
An increasing amount of time on the computer leads to child pornography

While things were just starting to slowly improve financially for Mr. Waldman
and his family, he felt anxious and depressed and was continuing to spend a lot
of time on the computer watching movies and pornography. As what can rightly
be described as a progressive addiction grew, he gravitated toward more and
more extreme subject matter to remain excited and engaged. Eventually, he
encountered images of child pornography.

Child pornography became a part—a very small part—of Mr. Waldman’s viewing
habits. He estimates that child pornography comprised no more than about three
to five percent of the media he consumed. Mainly, Mr. Waldman watched
mainstream movies and adult pornography. He used a common file sharing
program to download all sorts of videos and music.

In this way, the internet provided Mr. Waldman access to things that had long
been off limits. This new world was exciting, but morally problematic. Mr.
Waldman felt acute shame at violating his deeply held religious beliefs. He took
steps to hide his behavior from his family and his community. He used a
computer-cleaning program to delete the videos he had watched, but would then
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Nevertheless, certain items in the PSR’s account of Mr. Waldman’s statements to
the agents warrant clarification, since, taken out of context, they are misleading
and suggest that Mr. Waldman had a greater problem with child pornography
that was actually the case. See generally PSR J 13-17.

e Mr. Waldman’s comments that he had a problem viewing pornography
and that he became entranced while watching it pertained to
pornography and various other forms of media in general, not child
pornography specifically. { 15-16.

e Mr. Waldman observed that it is taboo in his religious community to
view all movies (and other forms of media) of any kind, not just child
pornography. { 15.

e Mr. Waldman said he would spend several hours downloading various
kinds of movies, including mainstream movies, not pornographic
movies. J 17.

e Mr. Waldman never downloaded or viewed child pornography videos on
his phone, only on his computer. { 17.

e When Mr. Waldman is quoted as comparing viewing child pornography
to jaywalking, he offered that comparison only to illustrate his hope
that agents would decide not to arrest him despite his having
committed a crime. He of course was not suggesting in any way that
the two crimes were of equal magnitude. 4 17.

e Mr. Waldman said he could not put a date on when he started viewing
adult pornography, not child pornography. { 17.

Psychosexual evaluation and testing results show
Mr. Waldman is neither a pedophile nor a danger.

 
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Mr. Waldman’s community and family have written
the Court to demonstrate their support for him.

Mr. Waldman enjoys the staunch support of his family and community. They
have stood by him even in the face of his rather public humiliation. Many of
them have written letters on his behalf, which are attached here as Exhibit B.
